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               IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA
                           WAYCROSS DIVISION



UNITED STATES OF AMERICA,


                                            Case No.     CR517-03


CLEVELAND TANKSLEY,


                   Defendant




     S. DeLeigh Poole, counsel of record for defendant Cleveland

Tanksley in the above-styled cases has moved for leave of absence.

The Court is mindful that personal and professional obligations

require the absence of counsel on occasion. The Court, however,

cannot accommodate its schedule to the thousands of attorneys who

practice within the Southern District of Georgia.

     Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and       trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.

     SO ORDERED this           day of January 2018.



 U. S. D!STf!!CT COURT
Southern DSstrtc? o? Ga-         WILLIAM T. MOORE,
          in
                                 UNITED STATES DISTRICT COURT

        It.®:                    SOUTHERN DISTRICT OF GEORGIA
